Case 1:05-md-01720-MKB-JAM Document 9179 Filed 03/26/24 Page 1 of 3 PageID #: 538100




    UNITED STATES DISTRICT COURT FOR
    THE EASTERN DISTRICT OF NEW YORK

    IN RE PAYMENT CARD INTERCHANGE             MDL No. 1720
    FEE AND MERCHANT DISCOUNT
    ANTITRUST LITIGATION                       Docket No. 05-md-01720 (MKB-JAM)

    This Document Relates To:

    BARRY’S CUT RATE STORES INC.; DDMB,        NOTICE OF MOTION AND
    INC. d/b/a EMPORIUM ARCADE BAR;            EQUITABLE RELIEF CLASS
    DDMB 2, LLC d/b/a EMPORIUM LOGAN           PLAINTIFFS’ MOTION FOR
    SQUARE; BOSS DENTAL CARE;                  PRELIMINARY APPROVAL OF
    RUNCENTRAL, LLC; CMP CONSULTING            SETTLEMENT
    SERV., INC.; TOWN KITCHEN, LLC d/b/a
    TOWN KITCHEN & BAR; GENERIC DEPOT
    3, INC. d/b/a PRESCRIPTION DEPOT; and
    PUREONE, LLC d/b/a SALON PURE,

                 Plaintiffs,

          v.

    VISA, INC.; MASTERCARD
    INCORPORATED; MASTERCARD
    INTERNATIONAL INCORPORATED; BANK
    OF AMERICA, N.A.; BA MERCHANT
    SERVICES LLC (f/k/a DEFENDANT
    NATIONAL PROCESSING, INC.); BANK OF
    AMERICA CORPORATION; BARCLAYS
    BANK PLC; BARCLAYS BANK
    DELAWARE; BARCLAYS FINANCIAL
    CORP.; CAPITAL ONE BANK, (USA), N.A.;
    CAPITAL ONE F.S.B.; CAPITAL ONE
    FINANCIAL CORPORATION; CHASE BANK
    USA, N.A.; CHASE MANHATTAN BANK
    USA, N.A.; CHASE PAYMENTECH
    SOLUTIONS, LLC; JPMORGAN CHASE
    BANK, N.A.; JPMORGAN CHASE & CO.;
    CITIBANK (SOUTH DAKOTA), N.A.;
    CITIBANK N.A.; CITIGROUP, INC.;
    CITICORP; and WELLS FARGO &
    COMPANY,

                 Defendants.
Case 1:05-md-01720-MKB-JAM Document 9179 Filed 03/26/24 Page 2 of 3 PageID #: 538101




    TO:    THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD

           PLEASE TAKE NOTICE that on a date and time determined by the Court, or as soon

    thereafter as the matter may be heard in the courtroom of the Honorable Margo K. Brodie,

    United States District Court for the Eastern District of New York, 225 Cadman Plaza East,

    Brooklyn, New York 11201, Equitable Relief Class Plaintiffs1 will and hereby do move this

    Court, pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, for an Order granting their

    Motion for Preliminary Approval of Settlement, a proposed copy of which is filed herewith and

    attached as Appendix E to the fully executed Class Settlement Agreement of the Rule 23(b)(2)

    Class Plaintiffs and the Defendants.

           This Motion is based on this Notice and the accompanying Memorandum of Law in

    support thereof, the attached complete and fully executed Class Settlement Agreement of the

    Rule 23(b)(2) Class Plaintiffs and the Defendants, along with the Appendices attached thereto,

    the Declaration of Class Counsel in Support of Rule 23(b)(2) Motion for Preliminary Approval

    of Settlement, the Declaration of Liz Lambert, the Declaration of Eric D. Green dated March 22,

    2024, the Declaration of Joseph E. Stiglitz dated March 25, 2024, the Declaration of Keith B.

    Leffler dated March 24, 3024, the pleadings and other files herein, and such other written and

    oral argument as may be presented to the Court.

        PLEASE TAKE FURTHER NOTICE that the Equitable Relief Class Plaintiffs request oral

    argument on this Motion.

    Dated: March 26, 2024                               Respectfully submitted,

                                                        By: /s/ Robert G. Eisler
                                                        Robert G. Eisler

    1
     Equitable Relief Class Plaintiffs include Boss Dental Care; Runcentral, LLC, CMP Consulting
    Serv., Inc., Generic Depot 3, Inc. (doing business as Prescription Depot), and PureOne, LLC.;
    and the certified class of which they are the named representatives.
Case 1:05-md-01720-MKB-JAM Document 9179 Filed 03/26/24 Page 3 of 3 PageID #: 538102




                                            Chad B. Holtzman
                                            GRANT & EISENHOFER P.A.
                                            485 Lexington Ave., 29th Floor
                                            New York, NY 10017
                                            Phone: 646-722-8500
                                            reisler@gelaw.com
                                            choltzman@gelaw.com
                                            Michael J. Freed
                                            William H. London
                                            Robert J. Wozniak
                                            FREED KANNER LONDON &
                                            MILLEN LLC
                                            100 Tri-State International, Suite 128
                                            Lincolnshire, IL 60069
                                            (224) 632-4500
                                            mfreed@fklmlaw.com
                                            wlondon@fklmlaw.com
                                            rwozniak@fklmlaw.com

                                            Linda P. Nussbaum
                                            Susan R. Schwaiger
                                            NUSSBAUM LAW GROUP, P.C.
                                            1133 Avenue of the Americas, 31st Fl.
                                            New York, NY 10036
                                            (917) 438-9189
                                            lnussbaum@nussbaumpc.com
                                            sschwaiger@nussbaumpc.com

                                            Steve D. Shadowen
                                            Richard M. Brunell
                                            Sherwin Faridifar
                                            HILLIARD & SHADOWEN LLP
                                            1717 W. 6th Street. Suite 370
                                            Austin, TX 78703
                                            (855) 344-3298
                                            steve@hilliardshadowenlaw.com
                                            rbrunell@hilliardshadowenlaw.com
                                            sfaridifar@hilliardshadowenlaw.com


                                            Equitable Relief Class Counsel
